         Case 1:20-cr-00278-TNM Document 165 Filed 12/04/23 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
                                                     Criminal No.
 v.                                                  1:20-cr-00278-TNM

 KEITH BERMAN

                        Defendant.



           UNITED STATES’ MOTION FOR LEAVE TO FILE A SUR-REPLY

       Defendant Keith Berman filed a second motion to exclude evidence relating to his alleged

misappropriation of company funds under Federal Rule of Evidence 404(b). (ECF 156.) In his

opening brief, the defendant omitted to mention that the parties had previously litigated this issue

(ECF 31, 33, 36), and that the Court found that such evidence was not extrinsic but was

“intertwined with the commission of the charged crimes” (Nov. 19, 2021 Hr’g Tr. at 40:14 –

42:16) and the Court directed the parties to consider entering a sanitizing stipulation about the

misappropriated funds (which had been used to pay to chat on webcams) (ECF 49). In its

response to the defendant’s second Rule 404(b) motion on this issue, the government discussed

the fact of the stipulation at length. (ECF 158 at 4-8, 10, 11.) In his reply brief, however, the

defendant acknowledged the stipulation for the first time but mischaracterized it as solely as

provision of notice without acknowledging the Court’s ruling on the underlying issue that

prompted the parties to negotiate the stipulation. (ECF 159 n.1.) The government seeks leave to

file a brief sur-reply addressing the new information set forth in the defendant’s reply and to

provide context and correct the record, including to explain that the Court has already found that

the evidence of misappropriated funds was intrinsic to the crimes charged. (Nov. 19, 2021 Hr’g

Tr. at 41:17 – 42:2.) The government’s proposed sur-reply is attached hereto as Exhibit 1.
        Case 1:20-cr-00278-TNM Document 165 Filed 12/04/23 Page 2 of 3




                                       CONCLUSION

       For the foregoing reasons, the government respectfully requests the Court grant leave to

submit the sur-reply attached hereto as Exhibit 1.



                                            Respectfully submitted,

                                            GLENN S. LEON
                                            CHIEF, FRAUD SECTION
                                            Criminal Division, U.S. Department of Justice

                                                     //s//
                                            CHRISTOPHER FENTON
                                            KATE T. MCCARTHY
                                            MATTHEW REILLY
                                            Trial Attorneys


                                            Fraud Section, Criminal Division
                                            United States Department of Justice
                                            1400 New York Avenue, NW
                                            Washington, D.C. 20005
                                            Telephone: (202) 320-0539
                                            Fax: (202) 514-0152
                                            Christopher.Fenton@usdoj.gov




                                               2
        Case 1:20-cr-00278-TNM Document 165 Filed 12/04/23 Page 3 of 3




                                CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on December 4, 2023, I electronically filed the

foregoing document with the Clerk of Court using CM/ECF.



                                                 /s/ Christopher Fenton
                                                Christopher Fenton
                                                Trial Attorney




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